                                   Case 3:22-cv-00112-MMD-CLB Document 55 Filed 06/03/22 Page 1 of 4




                          1   MICHAEL S. DICKE (admitted pro hac vice)
                              mdicke@fenwick.com
                          2   JENNIFER C. BRETAN (admitted pro hac vice)
                              jbretan@fenwick.com
                          3   KATHERINE A. MARSHALL (admitted pro hac vice)
                              kmarshall@fenwick.com
                          4   ALISON C. JORDAN (admitted pro hac vice)
                              ajordan@fenwick.com
                          5   SAMUEL SAHAGIAN (admitted pro hac vice)
                              ssahagian@fenwick.com
                          6
                              FENWICK & WEST LLP
                          7   555 California Street, 12th Floor
                              San Francisco, CA 94104
                          8   Tel: 415.875.2300
                          9   JOHN D. TENNERT III (Nevada Bar No. 11728)
                              jtennert@fennemorelaw.com
                         10   FENNEMORE CRAIG, P.C.
                              7800 Rancharrah Parkway
                         11   Reno, NV 89511
                              Tel: 775.788.2212
                         12
F ENW ICK & W ES T LLP




                              Attorneys for Defendant YUGA LABS
                         13

                         14                               UNITED STATES DISTRICT COURT

                         15                                        DISTRICT OF NEVADA

                         16   ROBERT ARMIJO,                                   Case No.: 3:22-cv-00112-MMD-CLB
                         17                           Plaintiff,               DECLARATION OF JENNIFER C.
                                                                               BRETAN IN SUPPORT OF
                         18          v.                                        DEFENDANT YUGA LABS’ MOTION
                                                                               TO DISMISS PLAINTIFF’S
                         19   OZONE NETWORKS, INC. d/b/a OPENSEA,              COMPLAINT
                              a New York Corporation, YUGA LABS LLC
                         20   d/b/a BORED APE YACHT CLUB, a Delaware
                              limited liability company; LOOKSRARE; and
                         21   DOES 1 to 50,
                         22                           Defendants.
                         23

                         24

                         25

                         26

                         27

                         28
                              BRETAN DECL. ISO YUGA LABS’                               Case No.: 3:22-CV-00112-MMD-CLB
                              MOTION TO DISMISS
                                    Case 3:22-cv-00112-MMD-CLB Document 55 Filed 06/03/22 Page 2 of 4




                          1              I, Jennifer C. Bretan, hereby declare as follows:
                          2           1.       I am a partner at Fenwick & West LLP, counsel for defendant Yuga Labs. I
                          3   submit this declaration in support of Yuga Labs’ motion to dismiss plaintiff’s Complaint (the
                          4   “Complaint”) pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6). I have
                          5   personal knowledge of the matters set forth below and, if called upon, would testify competently
                          6   to them.
                          7           2.       Attached as Exhibit A is the March 25, 2022 judgment in Tulip Trading Ltd. v.
                          8   Bitcoin Ass’n for BSV & Others [2022] EWHC 667 (Ch) BL-2021-000313, in the High Court of
                          9   Justice, Business and Property Courts of England and Wales, holding that Bitcoin software
                         10   developers do not owe a common law duty of care to protect cryptocurrency owners from fraud
                         11   that leads to a loss of their crypto assets.
                         12
F ENW ICK & W ES T LLP




                         13              I declare under penalty of perjury under the laws of the United States of America that the
                         14    foregoing is true and correct. Executed this third day of June, 2022, in Piedmont, California.
                         15                                                      /s/ Jennifer C. Bretan
                         16                                                          Jennifer C. Bretan

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24

                         25

                         26

                         27

                         28

                               BRETAN DECL. ISO YUGA LABS’                       1              Case No.: 3:22-CV-00112-MMD-CLB
                               MOTION TO DISMISS
                                  Case 3:22-cv-00112-MMD-CLB Document 55 Filed 06/03/22 Page 3 of 4




                          1                                  INDEX OF EXHIBITS
                          2
                                  Exhibit      Description
                          3
                                     A         Tulip Trading Ltd. v. Bitcoin Ass’n for BSV & Others [2022] EWHC 667
                          4                    (Ch) BL-2021-000313

                          5

                          6

                          7

                          8

                          9

                         10

                         11

                         12
F ENW ICK & W ES T LLP




                         13

                         14

                         15

                         16

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24

                         25

                         26

                         27

                         28

                              BRETAN DECL. ISO YUGA LABS’              2              Case No.: 3:22-CV-00112-MMD-CLB
                              MOTION TO DISMISS
                                    Case 3:22-cv-00112-MMD-CLB Document 55 Filed 06/03/22 Page 4 of 4




                          1                                   CERTIFICATE OF SERVICE
                          2          Pursuant to F.R.C.P. 5(b) and Electronic Filing Procedure IV(B), I certify that on June 3,

                          3   2022, a true and correct copy of the DECLARATION OF JENNIFER C. BRETAN IN

                          4   SUPPORT OF DEFENDANT YUGA LABS’ MOTION TO DISMISS PLAINTIFF’S

                          5   COMPLAINT AND EXHIBIT A was transmitted electronically through the Court’s CM/ECF

                          6   e-filing electronic notice system to all attorneys associated with the above-captioned case.

                          7

                          8                                                 /s/ Jennifer C. Bretan
                                                                            Jennifer C. Bretan
                          9
                                                                            Fenwick & West LLP
                         10

                         11

                         12
F ENW ICK & W ES T LLP




                         13

                         14

                         15

                         16

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24

                         25

                         26

                         27

                         28

                               BRETAN DECL. ISO YUGA LABS’                     3               Case No.: 3:22-CV-00112-MMD-CLB
                               MOTION TO DISMISS
